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                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF DELAWARE

 TECHNOPROBE S.P.A.,                      )
                                          )
                    Plaintiff,            )
                                          )
           v.                             )     C.A. No. 23-842-JCG
                                          )
 FORMFACTOR, INC.,                        )
                                          )
                    Defendant.            )
                                          )


           REPLY BRIEF IN SUPPORT OF DEFENDANT FORMFACTOR’S
        PARTIAL MOTION TO DISMISS PLAINTIFF’S AMENDED COMPLAINT

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                                       INTRODUCTION

         Plaintiff Technoprobe does not dispute that, when first sued, Defendant FormFactor had

no knowledge whatsoever of its alleged infringement of the asserted ’885 Patent. The Original

Complaint (D.I. 1) nonetheless asserted induced and willful infringement claims without any basis

for alleging the knowledge element of each claim. When FormFactor moved to dismiss those

claims based on this undisputed fact, Technoprobe filed an Amended Complaint (D.I. 13) that

relies on the defective Original Complaint to allege that FormFactor should now be deemed to

know of its alleged infringement of the ’885 Patent. Allowing induced and willful infringement

claims under these circumstances would reward Technoprobe for filing its defective claims in the

first place, and would encourage plaintiffs to file similar baseless pleadings despite the complete

absence of the required knowledge element. The Court should not permit Technoprobe to end-run

the substantive elements of induced and willful infringement in disregard of pleading requirements

of Fed. R. Civ. P. 8 & 11. As to the false advertising claim, Technoprobe spends five pages

explaining why three statements allegedly made by FormFactor could be read to have a false

meaning. But that merely confirms that the meaning of the statements is ambiguous, and therefore

not literally false.

  I.     THE AMENDED COMPLAINT FAILS TO STATE A CLAIM FOR WILLFUL
         OR INDUCED INFRINGEMENT

         Technoprobe is wrong in attempting to refer back to the Original Complaint to support its

assertion of pre-suit knowledge. The Federal Circuit and Delaware courts have ruled that the “pre-

suit” knowledge required to support a claim of induced or willful infringement is the knowledge

the defendant possessed when the claim was first filed – in this case, when the Original Complaint

was filed. Any alleged knowledge subsequent to that filing should not be considered in determining

whether pre-suit knowledge has been sufficiently pled. Technoprobe is also wrong in relying on



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the Original and Amended Complaints to allege “post-suit” knowledge of the ’885 Patent to

support its improper willful infringement claim. Those allegations cannot satisfy the threshold

requirement of an “egregious case” necessary to support a claim of willful infringement under

Halo Elecs., Inc. v. Pulse Elecs., Inc., 579 U.S. 93, 110 (2016).

         A.           The Original Complaint Does Not Provide “Pre-Suit” Knowledge

         Contrary to Technoprobe’s assertions, the Original Complaint cannot function as “a pre-

complaint notice letter” where Technoprobe asserted induced and willful infringement claims in

that Complaint. Pre-suit notice must predate the filing of induced or willful infringement claims.

See, e.g., Mentor Graphics Corp. v. EVE-USA, Inc., 851 F.3d 1275, 1295 (Fed. Cir. 2017) (“[t]he

relevant date for determining which conduct is pre-suit is the date of the patentee’s affirmative

allegation of [willful] infringement”); In re Seagate Tech., LLC, 497 F.3d 1360, 1374 (Fed. Cir.

2007) (“a willfulness claim asserted in the original complaint must necessarily be grounded

exclusively in the accused infringer’s pre-filing conduct”); Clouding IP, LLC v. Amazon.com, Inc.,

No. CA 12-641-LPS, 2013 WL 2293452, at *4 (D. Del. May 24, 2013) (same).

         Technoprobe cites Clouding IP and ICON, but those decisions fail to support its argument

that the Original Complaint may serve as “a pre-complaint notice letter.” D.I. 24 at 6. In both cases,

willful infringement claims were first asserted in the amended complaints. Clouding IP, 2013 WL

2293452,         at     *1;   ICON     Health   &       Fitness,   Inc.   v.   Tonal    Sys.,    Inc.,

No. CV 21-652-LPS-CJB, 2022 WL 611249, at *3 n.5 (D. Del. Feb. 7, 2022). Contrarily,

Technoprobe asserted induced and willful infringement claims in the Original Complaint, which

therefore cannot serve as pre-suit notice or knowledge of the ’885 Patent or its infringement.1


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          The ICON court acknowledged a lack of agreement among Delaware courts about
whether a plaintiff can plead knowledge of an asserted patent in an amended complaint simply by
pointing to an earlier-filed complaint in the same case. The cases relied on by the ICON court for



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         B.      Technoprobe’s Other Allegations Are Insufficient to Support an Inference of
                 FormFactor’s Pre-Suit Knowledge

         The Amended Complaint’s allegations, individually or collectively, do not support an

inference of FormFactor pre-suit knowledge, contrary to Technoprobe’s assertions. See D.I. 24 at

10-14. Delaware courts “require plaintiff’s complaint to plead knowledge and intent for indirect

infringement claims on motions to dismiss.” EON Corp. IP Holdings LLC v. FLO TV Inc., 802 F.

Supp. 2d 527, 535 (D. Del. 2011); see also, e.g., Midwest Energy Emissions Corp. v. Vistra Energy

Corp., 2020 WL 3316056, at *7 n.14 (D. Del. June 18, 2020), report and recommendation

adopted, 2020 WL 8265330 (D. Del. July 15, 2020). As FormFactor’s partial motion to dismiss

explained, the Amended Complaint fails to sufficiently plead knowledge and intent for indirect

and willful infringement claims. See D.I. 18 at 7-15. Technoprobe concedes that “[t]he knowledge

element … implicates a defendant’s mental state, it is typically difficult to demonstrate with direct

evidence.” D.I. 24 at 11. But that does not excuse Technoprobe’s failure to plead facts supporting

such knowledge.

         Technoprobe effectively concedes that none of the Amended Complaint’s allegations

establishes the required knowledge on its own. See D.I. 24 at 11-14. But even “taken collectively,”

the Amended Complaint’s allegations do not reach the level of pre-suit knowledge required to

maintain a claim. See Cleveland Med. Devices, No. CV 22-794-GBW, 2023 WL 6389628, at *5

(allegations did not contain the level of specificity required in Ravgen, Inc. v. Ariosa Diagnostics,

Inc., C.A. No. 20-1646-RGA-JLH, 2021 WL 3526178 (D. Del. Aug. 11, 2021)); Malvern

Panalytical Ltd v. Ta Instruments-Waters LLC, No. 19-CV-2157-RGA, 2021 WL 3856145, at *3

(D. Del. Aug. 27, 2021) (allegations could not support inferences of pre-suit knowledge); Logic


this proposition centered on pleading post-suit knowledge. ICON, 2022 WL 611249, at *3 n.4.
Thus, ICON does not stand for the proposition that the Original Complaint provides pre-suit
knowledge.


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Devices, Inc. v. Apple, Inc., 2014 WL 491605, *2-*3 (N.D. Cal. 2014) (allegations of isolated past

events do not support inference of pre-suit knowledge). The Amended Complaint fails to allege

even generally that FormFactor has monitored Technoprobe’s patents, and in any event such

allegations have been “routinely rejected in this District and others.” Malvern, C.A. No. 19-2157-

RGA, 2021 WL 3856145, at *3.2

         The allegations in Technoprobe’s Amended Complaint are even less specific than those

relating to the “presentation” in Intellectual Ventures. The complaint there contained general

allegations that there were “discussions with Intellectual Ventures … a presentation provided by

Intellectual Ventures to Toshiba …, and a letter sent by Intellectual Ventures to Toshiba ...” Intel.

Ventures I LLC v. Toshiba Corp., 66 F. Supp. 3d 495, 499–500 (D. Del. 2014). Similarly, here, the

Amended Complaint includes conclusory allegations that “Technoprobe’s patented guide plate

technology was publicly presented at SWTest 2023” that “showed an embodiment of the patented

guide plate technology, along with the text ‘Technoprobe Patented solution.’” D.I. 13, ¶ 26. But

the SWTest 2023 presentation “was publicly presented” to a general audience without any alleged

targeting of FormFactor or its personnel. And simply mentioning the word “patented” does not

make the Technoprobe presentation any more specific than that in Intel. Ventures.

         Finally, the Amended Complaint’s allegation that FormFactor competes in the semi-

conductor testing market, even taken together with other allegations, does not reach the level of

specificity required in Bio-Rad and SimpliVity. The Bio-Rad court found sufficient pleading of

pre-suit knowledge based on defendant’s access to plaintiff’s patent portfolio. Bio-Rad Lab’ys,


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          The Malvern court found that “[e]ven considering the totality of the circumstances,” the
plaintiff’s “allegations of competitor monitoring, particularly where they do not reference the
patents-in-suit,” could not support inferences of pre-suit knowledge. Id. Similarly, the allegations
in the Amended Complaint that “the parties are two main competitors in the industry” make no
reference to the ’885 Patent and are too remote to infer that FormFactor had pre-suit knowledge.


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Inc. v. 10X Genomics, Inc., 2020 WL 2079422, at *5 (D. Mass. Apr. 30, 2020). And the Simplivity

court found pre-suit knowledge to be sufficiently pled based on allegations that the defendant

“surreptitiously investigated [plaintiff’s] technology” and “thereafter developed a product which

mimics the technology in the [asserted patent].” Simplivity Corp. v. Springpath, Inc., 2016 WL

5388951, at *9 (D. Mass. July 15, 2016). Those additional allegations related specifically to the

patents in suit. Technoprobe’s Amended Complaint includes no such allegations and therefore fails

to allege sufficient pre-suit knowledge to support claims of induced and willful infringement.

         C.      Technoprobe Also Fails To Establish That The Original And Amended
                 Complaints Provide Post-Suit Knowledge

         Technoprobe seeks to rely on both its Original and Amended Complaints in asserting post-

suit knowledge, see D.I. 24 at 7-10, but that is based on an inaccurate reading of controlling law

on multiple levels. First, Technoprobe inaccurately contends that decisions finding that a

complaint alone can provide post-suit knowledge represent “the overwhelming weight of

authority in this District” and that decisions finding the opposite “represent a minority view.” Id.

at 7. But it fails to explain why the opposite position would be wrong on its merits given the

decision of Seagate and the benefit of avoiding “creat[ing] a claim” by simply filing a complaint

and having “all infringement suits involve willful infringement” as the courts in Cleveland Med.

Devices, Bos. Sci. Corp., and VLSI all pointed out. See Cleveland Med. Devices Inc. v. ResMed

Inc., 2023 WL 6389628, at *6 n.7 (D. Del. Oct. 2, 2023); Bos. Sci. Corp. v. Nevro Corp., 560 F.

Supp. 3d 837, 844 (D. Del. 2021); VLSI Tech. LLC v. Intel Corp., 2019 WL 1349468, at *2 (D.

Del. Mar. 26, 2019). Technoprobe further misreads Boston Sci. Corp., where the court took the

same position as in VLSI and Cleveland Med. Devices, explaining that “[t]he purpose of a

complaint is to obtain relief from an existing claim and not to create a claim.” Bos. Sci. Corp., 560

F. Supp. 3d at 844.



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         Second, Technoprobe’s attempt to distinguish VLSI and Cleveland Med. Devices, D.I. 24

at 8, is based on a flawed reading of Mentor Graphics, Seagate, and Clouding IP, which provide

that the relevant time period for “pre-filing” or “pre-suit” should be the time prior to the first filing

of the induced or willful infringement claim. As in VLSI and Cleveland Med. Devices,

Technoprobe first asserted its induced and willful infringement claims in the Original Complaint.

         Third, the Plaintiff’s reading of Seagate misses the point. D.I. 24 at 8-9. The Federal Circuit

in Seagate explicitly took the position that “a willfulness claim asserted in the original complaint

must necessarily be grounded exclusively in the accused infringer’s pre-filing conduct,” Seagate,

497 F.3d at 1374, foreclosing the possibility of relying on the original complaint having a

willfulness claim as the basis for a defendant’s actionable knowledge. Halo did not alter this part

of the Seagate opinion relating to post-filing willful infringement claims but focused on the two-

part test for enhanced damages. See Halo, 579 U.S. at 93. And Seagate’s offering of an alternative

remedy (to move for a preliminary injunction) for post-filing reckless conduct shows that the court

disfavors willful infringement claims in this context. Seagate, 497 F.3d at 1374. Indeed, the court

strongly opined that asserting willful infringement or to accrue enhanced damages based solely on

the infringer’s post-filing conduct “should not be allowed” unless a patentee “attempt[s] to stop an

accused infringer’s [post-filing] activities.” Id. And here, Technoprobe failed to plead that it has

attempted to stop any post-filing activities.

         Finally, Mentor Graphics did not reverse the district court’s dismissal of an amended

complaint “for failure to state a claim,” D.I. 24 at 9-10, but rather for the court’s abuse of discretion

in granting a motion in limine precluding the plaintiff from presenting evidence of willful

infringement. Mentor Graphics, 851 F.3d at 1296. Mentor Graphics does not support

Technoprobe’s position. Instead of “implicitly approv[ing] alleging post-suit knowledge via




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service of a complaint,” D.I. 24 at 9, the court endorsed Seagate’s ruling that “[t]he relevant date

for determining which conduct is pre-suit is the date of the patentee’s affirmative allegation of

[willful] infringement.” Id. at 1295.

         D.      Technoprobe Further Fails to Allege Sufficient Facts to Infer Culpable
                 Conduct for a Willfulness Claim

         The Supreme Court in Halo held that the award of enhanced damages is “limit[ed]… to

egregious cases of misconduct beyond typical infringement.” Halo, 579 U.S. at 110. Technoprobe

fails to recognize divided opinions within this District on whether a claim of willfulness must be

supported by factual allegations beyond just knowledge of the patent and continuing infringement.

See Ravgen, 2021 WL 3526178, at *4 (acknowledging the disagreement). We submit that the cases

requiring plaintiff to allege at least some other basis on which the infringement is willful (see D.I.

18 at 15-16) take the better approach, consistent with Halo’s holding limited willful infringement

to “egregious cases.” If all that is required to plead willful infringement is alleging knowledge of

the patent and subsequent continuing infringement, then willful infringement could be alleged in

literally every patent infringement lawsuit, turning Halo on its head.

         Here, Technoprobe first asserted willful infringement in its Original Complaint without

alleging that FormFactor had any prior notice of its alleged infringement. And it simply reasserts

the willful infringement claim in the Amended Complaint without alleging any other basis to claim

that FormFactor’s conduct actually was willful or exceptional. This failure is an independent basis

for dismissing the claim of willful infringement.

  II.    TECHNOPROBE FAILS TO ALLEGE LITERAL FALSITY

         Technoprobe’s laborious efforts to explain the purported meaning of the FormFactor

Claims only confirms FormFactor’s argument that the false advertising claim cannot proceed on a

“literally false” theory as a matter of law. See D.I. 24 at 4-5, 18-20. “Only an unambiguous message



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can be literally false.” Novartis Consumer Health, Inc. v. Johnson & Johnson-Merck Consumer

Pharms. Co., 290 F.3d 578, 587 (3d Cir. 2002); see also Groupe SEB USA, Inc. v. Euro-Pro

Operating LLC, 774 F.3d 192, 198 (3d Cir. 2014) (“Unless [a] claim is unambiguous…, it cannot

be literally false.”). On their face, the FormFactor Claims do not unambiguously compare the CCC

performance of FormFactor’s probe cards with its competitors’ probe cards (let alone

Technoprobe’s). Instead, the FormFactor Claims compare its featured technology against “current

generation” and “previous generation” products, which is “either ambiguous or true” if both

phrases are read—plausibly—to exclude FormFactor’s competitors. Bd. of Directors of Sapphire

Bay Condominiums W. v. Simpson, 641 F. App’x 113, 116 (3d Cir. 2015) (affirming dismissal of

literally false claim); see also D.I. 18 at 16-19. This alone should conclude this straightforward

inquiry, Novartis, 290 F.3d at 587, but instead Technoprobe goes to great lengths to persuade the

Court that there is an alternate, false meaning to the plain language of the FFI claims. D.I. 24 at 4-

5, 18-20. In so doing, Technoprobe only confirms FormFactor’s argument that, at best,

Technoprobe has stated a claim alleging that the FormFactor Claims are misleading.

         First, Technoprobe argues that the Court cannot decide at this juncture whether

FormFactor’s claims are susceptible to more than one meaning. D.I. at 17. This is plainly wrong.

Courts in this Circuit routinely dismiss claims of literal falsity when a plaintiff fails to allege facts

demonstrating that the statement at issue is unambiguously false—as Technoprobe fails to do here.

See, e.g., Simpson, 641 F. App’x at 116 (affirming dismissal of literally false claim after

determining statements at issue were “either ambiguous or true”); Checker CAB Philadelphia, Inc.

v. Uber Techs., Inc., No. CV 14-7265, 2016 WL 950934, at *7 (E.D. Pa. Mar. 7, 2016) (dismissing

claims of literal falsity after finding that statements “read in the context of the entire posting, are

deemed true”); see also Magnesita Refractories Co. v. Tianjin New Century Refractories Co., No.




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1:17-CV-1587, 2019 WL 1003623, at *14 (E.D. Pa. Feb. 28, 2019) (same).

         Second, citing Castrol, Inc. v. Pennzoil Co., 987 F.2d 939, 943 (3d Cir. 1993),

Technoprobe argues it “need not allege that Technoprobe was mentioned by name” to establish a

literal falsity theory. D.I. 24 at 19. This is a strawman. The statement in Castrol was a claim that

Pennzoil’s oil “outperforms any leading motor oil,” which unambiguously included competitors.

987 F.2d at 941 (emphasis added). By contrast, the FormFactor Claims only compare “previous

generation” and “current gen[eration]” products, which the context of the rest of the slides

confirms refers to FormFactor’s own products. D.I. 18 at 17-18. Even absent that additional

context, there is at minimum an ambiguity as to what constitutes “current gen[eration]” products.

Put another way, Technoprobe’s literal falsity theory fails not because FormFactor did not mention

Technoprobe by name, but because the statements do not unambiguously concern any of

FormFactor’s competitors at all.

         Third, Technoprobe’s argument simply doubles down in conclusory fashion on its own

interpretive framework for FormFactor’s claims. For example, Technoprobe points to a bar graph

and declares that the “light blue bars refer generically and without qualification to all ‘Previous

Generation Probes’—a designation that includes by virtue of not excluding, competitors including

Technoprobe.” D.I. 24 at 18. This explanation highlights the inferential leaps Technoprobe needs

to take to conclude that a “generic” label necessarily includes or excludes competitors.

Technoprobe spends five pages in its Opposition and an admitted “nine pages consisting of twenty

paragraphs” (D.I. 24 at 2 (original emphasis)) in the Amended Complaint to explain how it thinks

a consumer should “integrate [the] components” of FormFactor’s alleged statement “and draw the

apparent conclusion” Technoprobe advocates. Novartis, 290 F.3d at 587. Technoprobe’s argument

only demonstrates that the FormFactor Claims are not unambiguously false.




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         Finally, Technoprobe argues that such extensive exposition is necessary to explain how the

materials would be understood “by probe card consumers themselves.” D.I. 24 at 18. But that is

the relevant inquiry for statements alleged to be misleading, not literal falsity. Technoprobe

inadvertently confirms that this is the proper scope of the dispute and the only colorable theory of

Technoprobe’s false advertising claim. See id. at 5 n.5 (“FormFactor does not hereby seek to

dismiss [Technoprobe’s false advertising claim] to the extent is it based on the theory that the

Claims are allegedly misleading.”). “When the challenged advertisement is implicitly rather than

explicitly false, its tendency to violate the Lanham Act by misleading, confusing or deceiving

should be tested by public reaction.” Castrol, 987 F.2d at 943. On the other hand, a literally false

statement must “convey an unambiguous message” that is false. Groupe SEB, 774 F3d at 198. In

other words, it must be a “patently false statement that means what it says to any linguistically

competent person.” Schering–Plough Healthcare Products, Inc. v. Schwarz Pharma, Inc., 586

F.3d 500, 513 (7th Cir. 2009) (emphasis added). At base, Technoprobe hopes that by insisting that

the FFI Claims are literally false, it will be relieved of its burden to show that any consumers were

misled. Groupe SEB, 774 F.3d at 198 (“[L]iteral falsity relieves the plaintiff of its burden to prove

actual consumer deception.”); Magnesita, 2019 WL 1003623, at *14. This is improper. Literal

falsity applies to “bald-faced, egregious, undeniable, over the top” falsities. Schering–Plough, 586

F.3d at 513. Technoprobe’s Opposition only confirms that the FFI Claims are “either ambiguous

or true.” Simpson, 641 F. App’x at 116. The Court should hold Technoprobe to its proper burden

and rule that Technoprobe cannot pursue its false advertising claim on the theory of literal falsity.

                                         CONCLUSION

         For the reasons above, FormFactor respectfully requests that the Court dismiss the induced

infringement and willful infringement aspects of Count I (and any claim for enhanced damages or

other relief based on willful infringement) and the aspects of Count II based on literal falsity.


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